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                           Exhibit E
     TERMS FOR WHICH DEFENDANTS ADOPT
     AMAZON CONSTRUCTIONS AND RESERVE
               APPEAL RIGHTS
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                                        Exhibit 3 – Defendants’ Preliminary Claim Construction Chart
    For U.S. Patent No. 5,715,314 (“the ‘314 Patent), U.S. Patent No. 5,909,492 (“the ‘492 Patent”), and U.S. Patent No. 7,272,639 (“the ‘639
                        Patent”) Adopting Claim Construction Positions Taken by Defendants’ in Soverain v. Amazon,1

No.        Claims           Term                       Defendants’ Construction                    Support for Construction

1          1, 10, 60,       service request            An HTTP request message as                  Corresponding record in Soverain Software LLC
           65, 78, 79                                  defined by the HTTP method as it            v. Amazon.com,Inc., 6:04-cv-14, in particular:
           (‘639)                                      existed on June 7, 1995.                    Defendants’ P.R. 4-3 submission,
                                                                                                   Defendants’ claim construction briefs, the
                                                                                                   Markman hearing transcript, and the Amazon
                                                                                                   Markman Order.
2          1, 10, 60,       Session                    An uninterrupted series                     Corresponding record in Soverain Software LLC
           65, 78, 79                                  of requests and responses between           v. Amazon.com,Inc., 6:04-cv-14, in particular:
           (‘639)                                      (1) a specific client (identified by its    Defendants’ P.R. 4-3 submission,
                                                       network address and user) and (2) a         Defendants’ claim construction briefs, the
                                                       specific server system.                     Markman hearing transcript, and the Amazon
                                                                                                   Markman Order.
3          1, 10, 60,       Session identifier         A value with multiple fields whose          Corresponding record in Soverain Software LLC
           65, 78, 79                                  cryptographic authentication                v. Amazon.com,Inc., 6:04-cv-14, in particular:
           (‘639)                                      indicates to an access-controlling          Defendants’ P.R. 4-3 submission,
                                                       server that the client identified in the    Defendants’ claim construction briefs, the
                                                       session identifier is authorized to         Markman hearing transcript, and the Amazon
                                                       access the requested file.                  Markman Order.
4          34, 39, 84,144   shopping cart message      A message containing an authenticator       Corresponding record in Soverain Software LLC
           (‘314)                                      based on a cryptographic key, whose         v. Amazon.com,Inc., 6:04-cv-14, in particular:
           17, 18, 35,
                                                       authentication indicates that that the      Defendants’ P.R. 4-3 submission,

1
 Nothing in this Defendants’ Preliminary Claim Construction Chart should be caused as a waiver of Defendants’ invalidity defenses under 35
U.S.C. §112. Defendants expressly preserve their rights to continue to pursue their invalidity defenses under 35 U.S.C. §112 subsequent to the
Court’s Claim Construction.


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No.         Claims            Term                          Defendants’ Construction                 Support for Construction

            36 (‘492)                                       user has authority to modify a           Defendants’ claim construction briefs, the
                                                            shopping cart.                           Markman hearing transcript, and the Amazon
                                                                                                     Markman Order.
5           34, 35, 39,       shopping cart computer2       A single computer (not a collection of   Corresponding record in Soverain Software LLC
            49, 74, 84,                                     computers), separate from a computer     v. Amazon.com,Inc., 6:04-cv-14, in particular:
            109, 134,                                       providing product descriptions to a      Defendants’ P.R. 4-3 submission,
            144(‘314)                                       user.                                    Defendants’ claim construction briefs, the
                                                                                                     Markman hearing transcript, and the Amazon
            17, 18, 35,
                                                                                                     Markman Order.
            36 (‘492)




2
    This position is only taken by Defendant Newegg, Inc.


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